          Case 1:20-cv-02862-UNA Document 3 Filed 10/15/20 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                                                                      FILED
                                                                                          10/15/2020
                                                                                 Clerk, U.S. District & Bankruptcy
RYAN SASHA-SHAI VAN KUSH,                              )                         Court for the District of Columbia
                                                       )
                       Petitioner,                     )
                                                       )
               v.                                      )    Civil Action No. 1:20-cv-02862 (UNA)
                                                       )
10TH CIRCUIT EXECUTIVE/                                )
ADMINISTRATIVE OFFICE OF                               )
THE JUDGES (AO), et al.,                               )
                                                       )
                       Respondents.                    )


                                     MEMORANDUM OPINION
       This matter is before the Court on petitioner’s application for leave to proceed in forma

pauperis and pro se petition for a writ of mandamus pursuant to 28 U.S.C. § 1361. The Court

will grant the in forma pauperis application and dismiss the case for want of subject matter

jurisdiction, see Fed. R. Civ. P. 12(h)(3).

       Although the complaint is not clear, the petitioner, a resident of Castle Rock, Colorado,

appears to bring this action against the “10th Circuit Executive/Administrative Office of The

Judges,” “US Courts,” and two judges presiding in the United States District Court for the

District of Colorado. See generally Pet., Dkt. 1. The complaint presents topics ranging from

petitioner’s family history, see id. at 2–3, to his religious beliefs, see id. at 2. The remainder of

the complaint contains summaries and general grievances arising from the decisions and

outcomes of various litigation petitioner has filed in other courts. See id. at 3–6. As relief,

petitioner demands that the court issue a writ of mandamus compelling the Drug Enforcement

Administration (“DEA”) to process and produce certain records that he apparently requested

pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. See id. at 7.
           Case 1:20-cv-02862-UNA Document 3 Filed 10/15/20 Page 2 of 3




        As it appears that the petitioner seeks review of the propriety of the judgments issued by

the United States District Court for the District of Colorado, or United States Court of Appeals

for the Tenth Circuit, this Court lacks such jurisdiction. See 28 U.S.C. §§ 1331, 1332 (scope of

jurisdiction for all district courts); Cobb v. United States, 104 F. Supp. 3d 61, 65 (D.D.C. 2015);

United States v. Choi, 818 F. Supp. 2d 79, 85 (D.D.C. 2011) (“[A]s a district court is a trial level

court in the federal judicial system[,] [i]t generally lacks appellate jurisdiction over other judicial

bodies, and cannot exercise appellate mandamus over other courts.”) (citations omitted).

        To the extent that the petition can be construed as seeking a writ of mandamus against the

DEA, it is denied. A writ of mandamus “compel[s] an officer or employee of the United States

or any agency thereof to perform a duty owed to the plaintiff.” 28 U.S.C. § 1361. “[M]andamus

is ‘drastic’; it is available only in ‘extraordinary situations.’” In re Cheney, 406 F.3d 723, 729

(D.C. Cir. 2005) (citations omitted). Only if “(1) the plaintiff has a clear right to relief; (2) the

defendant has a clear duty to act; and (3) there is no other adequate remedy available to the

plaintiff,” Thomas v. Holder, 750 F.3d 899, 903 (D.C. Cir. 2014), is mandamus relief granted.

Petitioner does not address any of these elements, and petitioner does, in fact, have alternative

and adequate remedies to mandamus, namely, by filing suit pursuant to FOIA, or if relevant, the

Privacy Act, 5 U.S.C. § 552a. See Sanchez–Alanis v. Federal Bureau of Prisons, 270 F. Supp.

3d 215, 217 n.1 (D.D.C. 2017) (holding that FOIA and the Privacy Act provide adequate remedy

for petitioner’s claims for release of agency records and, therefore, mandamus relief was not

available).
         Case 1:20-cv-02862-UNA Document 3 Filed 10/15/20 Page 3 of 3




       For these reasons, the Court will dismiss the mandamus petition without prejudice. An

order accompanies this memorandum opinion.




                                          ___________________________
                                              DABNEY L. FRIEDRICH
                                             United States District Judge
DATE: October 15, 2020
